                   IN THE COURT OF APPEALS OF NORTH CAROLINA

                                       2021-NCCOA-66

                                       No. COA20-311

                                     Filed 16 March 2021

     Rutherford County, Nos. 18 JA 101-02

     IN THE MATTER OF: R.P., X.P.



           Appeal by respondents from order entered 14 February 2020 by Judge Robert

     Martelle in Rutherford County District Court. Heard in the Court of Appeals 24

     February 2021.


           King Law Offices PLLC, by Brian W. King and Thomas Morris, for petitioner-
           appellee Rutherford County Department of Social Services.

           Miller and Audino LLP, by Jeffrey L. Miller, for respondent-appellant mother.

           Surratt Thompson &amp; Ceberio PLLC, by Christopher M. Watford, for
           respondent-appellant father.

           Fox Rothschild LLP, by Kip D. Nelson, for Guardian ad Litem.


           TYSON, Judge.


¶1         Respondents mother and father appeal the adjudication and initial disposition

     order adjudicating their minor child, X.P. (“Xavier”) as abused and neglected. See

     N.C. R. App. P. 42(b) (pseudonyms are used to protect the identity of the juveniles).

     Respondent-father also appeals the trial court’s adjudication of R.P. (“Rorie”) as

     abused and neglected. We vacate the orders and remand for a new adjudication and
                                                IN RE R.P.

                                             2021-NCCOA-66

                                            Opinion of the Court



     disposition hearing.

                                       I.      Background

¶2         Respondent-mother gave birth to Xavier, while in the bathtub at her parents’

     home in July 2018. Xavier and Respondent-mother tested positive for amphetamines

     and benzodiazepine after Xavier’s birth. Respondent-mother had failed to obtain

     prenatal care prior to the birth.         The Rutherford County Department of Social

     Services (“DSS”) became involved with the family two days after Xavier’s birth.

¶3         DSS scheduled a child and family team (“CFT”) meeting and drug testing for

     Respondents, their twelve-year-old child, Rorie, and Xavier for 28 August 2018. Both

     Respondent-mother and Xavier tested positive for methamphetamine. Respondent-

     mother and Xavier attended the CFT meeting and agreed to a safety plan.

     Respondent-father failed to attend or to bring Rorie to be drug tested.

¶4         The safety plan included the family moving into the juveniles’ paternal

     grandfather’s home. On 13 September 2018, when DSS arrived at the grandfather’s

     home for the next scheduled CFT meeting, the family had moved back into their own

     home. Rorie told DSS she had observed both of her parents use methamphetamine

     in the home and she did not feel safe being around them. Rorie was tested the next

     day and was negative for drugs.

¶5         DSS filed its original juvenile petitions on 13 September 2018, alleging Rorie

     was neglected and Xavier was abused and neglected. DSS filed amended petitions
                                           IN RE R.P.

                                         2021-NCCOA-66

                                       Opinion of the Court



     with the same allegations on 16 October 2018. The juveniles were placed into DSS’

     custody. After initially being in foster care, Rorie was placed in the home of her

     paternal grandfather and Xavier resided in a kinship placement.

¶6         Respondents acquiesced to an out-of-home services agreement on 21

     September 2018.      Both parents agreed to complete mental health and drug

     assessments and comply with any recommended treatment. Respondents denied

     drug usage and did not complete any drug assessments.

¶7         Respondent-mother tested positive for methamphetamine on 25 September

     2018 and again on 25 October 2018. Respondent-father provided his first drug screen

     on 25 October 2018, which was positive for methamphetamine and amphetamines.

     On   4   January    2019,   Respondent-mother       tested   positive   for   oxycodone,

     methamphetamine, and amphetamines.             Respondent-father tested positive for

     methamphetamine and amphetamines on that same date.

¶8         The adjudication hearing was held 22 January 2019. All parties and their

     attorneys were present before Judge C. Randy Pool.           The parties stipulated to

     thirteen statements of fact. The stipulations were introduced as Exhibit A and DSS

     offered no other evidence at adjudication. The stipulations included the results of the

     drug tests administered through the pendency of the case, that Xavier was abused

     and neglected, and that Rorie was neglected.
                                                 IN RE R.P.

                                              2021-NCCOA-66

                                             Opinion of the Court



¶9           Judge Pool indicated “based on the stipulations [he] would make findings of

       fact consistent with those in the stipulation on Exhibit A, would -- based on that

       stipulation -- enter the adjudications of neglect [of both juveniles] and abuse [of

       Xavier].”

¶ 10         At the disposition stage of the hearing, the court received DSS’ court reports

       and those of the guardian ad litem (“GAL”). The recommended permanent plan was

       reunification. Judge Pool listed several conditions to be included in the order and

       asked for DSS’ attorney to draft the order. The matter was to be set for review in

       three months.

¶ 11         The adjudication and disposition orders were not signed until 14 February

       2020. Judge Pool had resigned prior to that date, and the order was signed by the

       chief district court judge, Judge Robert Martelle. Respondents timely appealed.

       Respondent-mother noted her appeal only to the order regarding Xavier.

                                       II.      Jurisdiction

¶ 12         Jurisdiction lies in this Court pursuant to N.C. Gen. Stat. § 7B-1001(a)(5)

       (2019).

                                III.    Standards of Review

¶ 13         This Court reviews a trial court’s adjudication of a child as a neglected or

       abused juvenile to determine “(1) whether the findings of fact are supported by clear

       and convincing evidence, and (2) whether the legal conclusions are supported by the
                                                 IN RE R.P.

                                            2021-NCCOA-66

                                           Opinion of the Court



       findings of fact.” In re Gleisner, 141 N.C. App. 475, 480, 539 S.E.2d 362, 365 (2000)

       (citations omitted). “The trial court’s conclusions of law are reviewable de novo on

       appeal.” In re K.J.D., 203 N.C. App. 653, 657, 692 S.E.2d 437, 441 (2010) (citation

       and quotation marks omitted).

¶ 14          “The standard of review of the dispositional stage is whether the trial court

       abused its discretion.” In re D.R.B., 182 N.C. App. 733, 735, 643 S.E.2d 77, 79 (2007).

       An abuse of discretion occurs when the trial court acts under a misapprehension of

       the law or its ruling is “so arbitrary that it could not have been the result of a reasoned

       decision.” White v. White, 312 N.C. 770, 777, 324 S.E.2d 829, 833 (1985).

                                           IV.      Issues

¶ 15          Respondents assert the adjudication and disposition orders signed by Judge

       Martelle are void, and argue in the alternative, that their stipulations are

       insufficient, standing alone, to support an adjudication of abuse or neglect.

       Respondents further assert the trial court erred in relying solely upon written reports

       and attorney arguments at the disposition stage.

                                           V.     Analysis

                                       A. Ministerial Action

¶ 16          We take judicial notice that Judge Pool resigned from the bench and left the

       orders unsigned. See N.C. Gen. Stat. § 8C-1, Rule 201 (2019) (court may take judicial

       notice of fact not subject to reasonable dispute).         North Carolina Rule of Civil
                                               IN RE R.P.

                                             2021-NCCOA-66

                                           Opinion of the Court



       Procedure 63 allows the chief district court judge to sign orders upon the resignation

       of a district court judge.

                     If by reason of death, sickness or other disability,
                     resignation, retirement, expiration of term, removal from
                     office, or other reason, a judge before whom an action has
                     been tried or a hearing has been held is unable to perform
                     the duties to be performed by the court under these rules
                     after a verdict is returned or a trial or hearing is otherwise
                     concluded, then those duties, including entry of judgment,
                     may be performed:

                     ...

                     (2) In actions in the district court, by the chief judge of the
                     district, or if the chief judge is disabled, by any judge of the
                     district court designated by the Director of the
                     Administrative Office of the Courts.

                     If the substituted judge is satisfied that he or she cannot
                     perform those duties because the judge did not preside at
                     the trial or hearing or for any other reason, the judge may,
                     in the judge’s discretion, grant a new trial or hearing.

       N.C. Gen. Stat. § 1A-1, Rule 63 (2019) (emphasis supplied).

¶ 17          Respondents argue Rule 63 does not anticipate the chief district court judge’s

       signing an adjudication order after the judge who presided at the hearing and heard

       the evidence resigned without entry of the orders. Respondents rely upon this Court’s

       holding that the function of a substituted judge is “ministerial rather than judicial.”

       In re Whisnant, 71 N.C. App. 439, 441, 322 S.E.2d 434, 435 (1984).

¶ 18          In Whisnant, Judge Tate had conducted a hearing on a motion to terminate

       the respondent’s parental rights on 20 October 1983. Id. at 440, 322 S.E.2d at 435.
                                              IN RE R.P.

                                            2021-NCCOA-66

                                          Opinion of the Court



       Judge Tate stated insufficient evidence supported neglect, but evidence existed to

       find nonpayment of support and “he believed the best interest of the child would be

       served by termination of parental rights.” Id. Judge Tate directed the GAL attorney

       to prepare the order. Id. The resulting adjudication and disposition orders listed

       Judge Crotty had heard the matter and they were signed by Judge Crotty on 28

       December 1983. Id. This Court held “Judge Crotty was without authority to sign the

       order terminating respondent’s parental rights and the order he signed [was] a

       nullity.” Id. at 441, 322 S.E.2d at 435.

¶ 19         Respondents, relying upon Whisnant, assert the judge presiding at the hearing

       is the only one who hears all the evidence, passes upon the credibility of the witnesses,

       and discerns the weight to be applied to the testimony and the inferences to be drawn

       therefrom to adjudicate the issues. Respondents also argue Judge Pool, not Judge

       Martelle, is the one who received their stipulation in open court on the day of the

       hearing.

¶ 20         DSS and the GAL argue Judge Pool presided over the hearing and articulated

       both his findings of fact and the basis of his decision, stating he “would make findings

       of fact consistent with those in the stipulation on Exhibit A.” Judge Pool indicated

       he “would - based on that stipulation - enter the adjudication of neglect and abuse . . .

       as is admitted to.” DSS and the GAL assert that because of the stipulation all that

       was left for Judge Martelle was to sign the order as a ministerial act.
                                             IN RE R.P.

                                           2021-NCCOA-66

                                         Opinion of the Court



¶ 21         Our Juvenile Code allows for stipulations by the parties to be received into

       evidence at adjudication. N.C. Gen. Stat. § 7B-807(a) (2019). The statute provides

       “[a] record of specific stipulated adjudicatory facts shall be made by either reducing

       the facts to a writing, signed by each party stipulating to them and submitted to the

       court; or by reading the facts into the record, followed by an oral statement of

       agreement from each party stipulating to them.” Id. The statute requires the trial

       court shall make and state the same findings “that the allegations in the petition

       have been proven by clear and convincing evidence” as is required where live

       testimony is presented. Id.

¶ 22         Here, the parties stipulated to the facts underlying the adjudication. This

       stipulation was written and signed by all parties. It is unquestioned that the parties

       were lawfully able to stipulate to the adjudicatory facts in this matter.        Such

       stipulations of underlying facts could properly have been included as part of the final

       judgment.

¶ 23         However, nothing in the record or transcript shows Judge Pool ever made or

       rendered the final findings of fact and conclusions of law in the unfiled and unsigned

       orders. He merely stated he would enter the adjudication “as is admitted to.” Since

       the record on appeal shows only a stipulation without any adjudication of the facts

       and conclusions of law, or rendering of the order, any action by Judge Martelle to
                                             IN RE R.P.

                                           2021-NCCOA-66

                                         Opinion of the Court



       cause the later prepared and unsigned draft order to be entered was not solely a

       ministerial duty. In re Whisnant, 71 N.C. App. at 441, 322 S.E.2d at 435.

¶ 24           Further, the statutorily required disposition hearing requires the presiding

       judge consider competent evidence “necessary to determine the needs of the juvenile

       and the most appropriate disposition.” N.C. Gen. § 7B-901 (2019). Judge Martelle’s

       signing of the disposition orders cannot be considered simply a ministerial act.

¶ 25           At the 22 January 2019 hearing, Judge Pool stated he “would make findings

       consistent with the stipulations consistent with the reports presented by the

       guardian ad litem and by the department of social services.”       The court stated,

       “reasonable efforts [had] been made by the agency” and that it would be “in the best

       interest of the children to remain in DSS custody.” The court ordered Respondents

       to comply with their out-of-home services agreements.       These four findings are

       included in the written orders.

¶ 26           All other purported findings and conclusions included in the order signed by

       Judge Martelle are not reflected in any stipulations or oral statements of Judge Pool.

       The written disposition portion of the order went beyond the oral recitations of Judge

       Pool.

¶ 27           Rendering and entering judgment was more than a ministerial task. Judge

       Martelle was without authority to sign the adjudication and disposition orders and

       the orders are a “nullity.” In re Whisnant, 71 N.C. App. at 441, 322 S.E.2d at 435.
                                              IN RE R.P.

                                            2021-NCCOA-66

                                          Opinion of the Court



¶ 28         DSS asserts voiding Judge Martelle’s order would be an improper extension of

       our Supreme Court of North Carolina’s recent holding in In re C.M.C., 373 N.C. 24,

       28, 832 S.E.2d 681, 684 (2019). DSS argues the reasoning in C.M.C. is only applicable

       to termination of parental rights hearings and orders and not to the initial

       adjudication of the juveniles. DSS’ argument is unpersuasive and erroneous.

¶ 29         In C.M.C., our Supreme Court held a termination of parental rights order

       signed by a different judge than the judge who presided over the termination hearing

       was a nullity. Id.    The Court specifically adopted the reasoning of this Court’s

       decisions in In re Whisnant, 71 N.C. App. at 442, 322 S.E.2d at 435 and In re Savage,

       163 N.C. App. 195, 198, 592 S.E.2d 610, 611 (2004). The Supreme Court concluded

       the appropriateness of nullifying the orders stems “from the fact that N.C.G.S. § 1A-

       1, Rule 52 requires a judge presiding over a non-jury trial to (1) make findings of fact,

       (2) state conclusions of law arising on the facts found, and (3) enter judgment

       accordingly.” In re C.M.C., 373 N.C. at 28, 832 S.E.2d at 684 (internal citation and

       quotation marks omitted). The Court further recognized the appropriateness of their

       result by noting N.C. Gen. Stat. § 1A-1, Rule 58 provides that “a judgment is entered

       when it is reduced to writing, signed by the judge, and filed with the clerk of court.”

       Id. (citation omitted).

¶ 30         Contrary to DSS’ assertion, our Supreme Court relied upon our rules of civil

       procedure, not upon some perceived distinction between the gravity of a hearing on a
                                              IN RE R.P.

                                           2021-NCCOA-66

                                          Opinion of the Court



       juvenile petition versus a hearing on a motion to terminate parental rights. See id.

       Here, Judge Pool did not recite, render, nor sign the order. His unsigned order is not

       a valid judgment from where Judge Pool presided over the adjudication hearing, and

       Judge Martelle’s ministerial signature thereon cannot cure the judgment. See In re

       C.M.C., 373 N.C. at 28, 832 S.E.2d at 684.

                               B. Stipulated Conclusions of Law

¶ 31         Our conclusion to vacate is also supported by other precedent. “It is well

       established that stipulations as to questions of law are generally held invalid and

       ineffective, and not binding upon the courts, either trial or appellate.” In re R.L.G.,

       260 N.C. App. 70, 76, 816 S.E.2d 914, 919 (2018) (citation and internal quotation

       marks omitted).

¶ 32         In the present case, the parties’ stipulation includes “the Respondent parents

       stipulate and admit that [Xavier] is an abused and neglected juvenile” and that Rorie

       is “a neglected juvenile.” Chapter 7B and our case law clearly require the trial court’s

       legal conclusion that a child is abused or neglected be based upon DSS’ presentment

       and admission of clear and convincing evidence. N.C. Gen. Stat. § 7B-805 (2019).

¶ 33         Here, the parties did not agree to the trial court entering a “consent

       adjudication order” pursuant to N.C. Gen. Stat. § 7B-801(b1) (2019) (allowing consent

       order to be entered where all parties consent, the juveniles are represented by counsel

       and the court makes sufficient findings of fact).
                                              IN RE R.P.

                                            2021-NCCOA-66

                                          Opinion of the Court



¶ 34         DSS concedes Respondents’ stipulation that they believed their children to be

       neglected and abused is not binding on a court as a legal conclusion. See In re R.L.G.,

       260 N.C. App. at 76, 816 S.E.2d at 919.

¶ 35         The juvenile petition filed alleges Xavier was abused in that Respondents

       “inflicted or allowed to be inflicted on the juvenile a serious physical injury by other

       than accidental means.” See N.C. Gen. Stat. § 7B-101(1) (2019). The petition alleges

       Xavier was neglected in that the Respondents did “not provide proper care,

       supervision, or discipline” and “lives in an environment injurious to the juvenile’s

       welfare.” See N.C. Gen. Stat. § 7B-101(15) (2019). DSS’ petition alleged the same

       statutory prongs of neglect concerning Rorie.

¶ 36         According to the trial court’s finding of fact in In re R.L.G., the respondent had

       admitted the juvenile was neglected because she did not ensure that the juvenile

       attended school regularly. In re R.L.G., 260 N.C. App. at 76, 816 S.E.2d at 918. This

       Court recognized “the determination of whether a juvenile is neglected within the

       meaning of N.C. Gen. Stat. § 7B-101(15) is a conclusion of law.” Id. at 76, 816 S.E.2d

       at 918-19.    Such “[d]etermination that a child is not receiving proper care,

       supervision, or discipline, requires the exercise of judgment by the trial court.” Id.
       This Court held the respondent’s admission that the juvenile was a neglected juvenile

       “was ineffective to support the trial court’s adjudication of neglect.” Id.                                              IN RE R.P.

                                           2021-NCCOA-66

                                          Opinion of the Court



¶ 37         The formulation of this conclusion requires the hearing judge to consider the

       properly admitted evidence, determine the weight and burden on DSS, and reconcile

       the nexus, if any, between the stipulated facts, and to adjudicate whether the child is

       neglected or abused. “The trial court’s findings must consist of more than a recitation

       of the allegations contained in the juvenile petition. The trial court must, through

       processes of logical reasoning, based on the evidentiary facts before it, find the

       ultimate facts essential to support the conclusions of law.” In re K.P., 249 N.C. App.

       620, 624, 790 S.E.2d 744, 747 (2016) (alterations and internal quotation marks

       omitted) (citation omitted).

¶ 38         Judge Pool would have been unable to simply rest alone upon a stipulated

       conclusion. It is equally clear Judge Martelle cannot, in the name of a ministerial

       act, do what Judge Pool himself could not do. See id. Judge Martelle was not present

       at the hearing and on the basis of the order alone could not adjudicate Rorie and

       Xavier as neglected and abused as a conclusion of law, in a ministerial act.

¶ 39         DSS asserts there exists a distinction between accepting a stipulation as a

       legal conclusion at an initial adjudication and disposition hearing versus accepting

       one at a termination of parental rights hearing. DSS argues the trial court’s action

       requires us to apply a lower standard, since it does not involve termination of parental

       rights or a substantial deprivation of Respondents’ ability to see their children. DSS

       asserts another judge signing off on an order after conduct of this hearing on
                                             IN RE R.P.

                                           2021-NCCOA-66

                                         Opinion of the Court



       allegations of abuse and neglect and determining the appropriate initial disposition

       is a ministerial task.

¶ 40          This assertion is not supported by the statute or our case law. The case of In

       re R.L.G., an appeal of the initial adjudication hearing, was held upon DSS’ petition

       alleging the juvenile was neglected. The disposition order in that case ordered DSS

       to pursue the goal of reunification. In re R.L.G., 260 N.C. App. at 73, 816 S.E.2d at

       916.

¶ 41          In the case of In re L.G.I., 227 N.C. App. 512, 515, 742 S.E.2d 832, 835 (2013),

       the respondent had entered into a stipulation of certain facts during the adjudication

       phase of the hearing. On appeal, this Court reviewed whether the adjudication order

       was a valid consent adjudication order, and no additional evidence showing neglect

       needed to be presented beyond the parties’ agreed upon facts.         The respondent

       asserted, and this Court agreed, that her stipulation did not convert the trial court’s

       order into a consent adjudication order. Id. at 515, 742 S.E.2d at 835.

¶ 42          This Court affirmed the trial court’s adjudication because additional medical

       record evidence in the record supported the respondent-mother’s prenatal drug

       exposure, even without respondent-mother’s stipulation. Id. at 516, 742 S.E.2d at

       835.

¶ 43          No other evidence beyond the parties’ stipulation was presented at the

       adjudication hearing. Judge Pool was required to make findings of fact, adjudicated
                                              IN RE R.P.

                                           2021-NCCOA-66

                                          Opinion of the Court



       and state conclusions of law arising on those facts, and enter judgment accordingly.

       The parties did not and could not have stipulated to the final conclusion in this

       matter.

¶ 44         Respondent-father also points out the written order also concludes Rorie “is

       adjudicated to be an abused and neglected juvenile.” “The allegations in a petition

       alleging that a juvenile is abused, neglected, or dependent shall be proved by clear

       and convincing evidence.” N.C. Gen. Stat. § 7B-805. The underlying petition only

       alleged neglect. The box alleging “abuse” on the petition was not checked. The parties

       stipulated Rorie is neglected “[a]s a result of the frequent use of illegal controlled

       substances.” No evidence was offered at the adjudication hearing and no findings of

       fact in the order support a conclusion that Rorie was abused.

¶ 45         We categorically reject DSS’ argument that Judge Martelle’s rendering of Rorie

       as abused in the absence of such allegation in the petition was within his discretion

       or is, at worst, nonprejudicial or harmless error. Presuming Judge Pool had signed

       the order, this conclusion is erroneous. No clear and convincing evidence supports a

       conclusion Rorie was abused and that portion of the adjudication is vacated. Id.; In

       re Gleisner, 141 N.C. App. at 480, 539 S.E.2d at 365; see also In re D.C., 183 N.C. App.

       344, 349, 644 S.E.2d 640, 643 (2007) (holding where DSS did not click the box or

       allege neglect in its petition, the trial court erred by entering an order adjudicating

       the juvenile to be a neglected juvenile”). That conclusion is vacated.
                                              IN RE R.P.

                                             2021-NCCOA-66

                                         Opinion of the Court



                                          C. Disposition

¶ 46         Respondents also argue the trial court abused its discretion in rendering its

       disposition without sufficient credible and competent evidence to support its findings.

       DSS and the GAL respond that the initial disposition hearings are informal and there

       is no requirement that the order be supported by live testimony, just competent

       evidence. Both DSS and the GAL presented court reports to Judge Pool at the

       disposition stage. Because we hold the adjudication orders signed by Judge Martelle

       are “a nullity.” It is unnecessary to reach the merits of these arguments. In re

       Whisnant, 71 N.C. App. at 441, 322 S.E.2d at 435.

                                       VI.     Conclusion

¶ 47         Notwithstanding the parties entered into specific stipulation of facts that Rorie

       was neglected and that Xavier was abused and neglected, Judge Pool did not

       adjudicate the evidence, enter conclusions of law, and render an order. The chief

       district court judge could not properly sign the later written adjudication and

       disposition orders as merely a ministerial duty. The orders are vacated and the case

       is remanded for a new hearing. It is so ordered.

             VACATED AND REMANDED.

             Judges COLLINS and WOOD concur.
